       Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 1 of 50




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 3 MANNING & KASS
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   Los Angeles, California 90017-3012
 5 Telephone: (213) 624-6900
   Facsimile: (213) 624-6999
 6
   Attorneys for Defendant, TARGET
 7 CORPORATION
 8                        UNITED STATES DISTRICT COURT
 9    NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
10
11 BRYON JACKSON,                              Case No. 3:21-cv-08458-LB
                                               [Honorable District Judge, Magistrate
12               Plaintiff,                    Judge Laurel Beeler]
13         v.                                  [MOTION IN LIMINE NO. 2]
14 TARGET CORPORATION,
                                               NOTICE OF MOTION AND
15               Defendant.                    MOTION IN LIMINE BY
                                               DEFENDANT TO EXCLUDE ALL
16                                             EVIDENCE AND ARGUMENT
                                               RELATING TO PLAINTIFF’S
17                                             MEDICAL TREATMENT,
                                               MEDICAL EXPENSES OR
18                                             SPECIAL DAMAGES ;
                                               MEMORANDUM OF POINTS AND
19                                             AUTHORITIES; DECLARATION
                                               OF GABRIELLA PEDONE
20
                                               [Proposed Order filed concurrently]
21
                                               Date: 2/15/2024
22                                             Time: 1:00 thp.m.
                                               Crtrm.: B 15 Floor
23
24
     TO PLAINTIFF AND HIS COUNSEL OF RECORD HEREIN:
25
           PLEASE TAKE NOTICE THAT on February 15, 2024, at 1:00 p.m., or as
26
     soon thereafter as counsel may be heard, in the courtroom of the Honorable Laurel
27
28                                         1                    Case No. 3:21-cv-08458-LB
      NOTICE OF MOTION AND MOTION IN LIMINE BY DEFENDANT TO EXCLUDE ALL EVIDENCE
     AND ARGUMENT RELATING TO PLAINTIFF’S MEDICAL TREATMENT, MEDICAL EXPENSES OR
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                                  GABRIELLA PEDONE
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 1 Beeler located in the San Francisco Courthouse, 450 Golden Gate Ave., San
 2 Francisco, CA 94102, Defendant TARGET CORPORATION (“Defendant”) will
 3 move in limine for an order to exclude from evidence, and from being published to
 4 the jury or finder of fact, and from being admitted into evidence, in this matter any
 5 and all evidence, documents, records, recordings, testimony, statements, and
 6 reference before the jury, and from admission into evidence, of any and all references
 7 to plaintiff's injuries, medical treatment, medical expenses and special damages, as
 8 none of the medical evidence supports any type of injury in plaintiff's complaint or
 9 allegations.
10         This motion is made pursuant to Fed. R. Evid. 104, 402, 403 on the grounds
11 that plaintiff’s alleged injuries are irrelevant and inadmissible as there is no medical
12 evidence that supports plaintiff’s alleged injury.
13         This motion is made following defense counsel's meet and confer efforts with
14 plaintiff’s counsel on December 29, 2023.
15         This motion is based on the attached memorandum of points and authorities,
16 Declaration of Gabriella Pedone, all pleadings, records and files in this action, and
17 upon such further oral and documentary evidence as may be presented at the hearing
18 on this motion.
19 DATED: January 17, 2024               MANNING & KASS
                                         ELLROD, RAMIREZ, TRESTER LLP
20
21
22                                       By:         /s/Gabriella Pedone
23                                             David V. Roth
                                               Attorneys for Defendant, TARGET
24
                                               CORPORATION
25
26
27
28                                         2                    Case No. 3:21-cv-08458-LB
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                                  GABRIELLA PEDONE
         Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 3 of 50




 1                 MEMORANDUM OF POINTS AND AUTHORITIES
 2 I.       INTRODUCTION
 3          Defendant respectfully requests that the honorable Court exclude all evidence,
 4 testimony, and references in or before the presence of the jury by the plaintiff,
 5 plaintiff’s attorneys, and plaintiff’s witnesses (including experts) concerning
 6 plaintiff's injuries, medical treatment, medical expenses or special damages, as none
 7 of the medical evidence supports any injury or allegation in his complaint.
 8          Evidence of plaintiff’s alleged injuries, medical treatment, medical expenses or
 9 special damages is irrelevant and inadmissible as none of plaintiff’s medical records
10 support that there was an injury or his allegations related to the injuries as there are
11 no medical records. Plaintiff did not seek medical treatment for any his alleged
12 injuries.
13          Accordingly, Defendant requests that plaintiff be precluded from offering any
14 such evidence at the time of trial.
15 II.      PLAINTIFF SHOULD BE PRECLUDED FROM INTRODUCING
16          EVIDENCE OF HIS ALLEGED INJURY MEDICAL TREATMENT,
17          MEDICAL EXPENSES AND SPECIAL DAMAGES
18          Federal Rules of Evidence rule 104(a) states broadly that court is to determine
19 preliminary questions. United States v. Matlock, 415 U.S. 164, 174-75 (1974). The
20 findings of preliminary facts necessary to an admissibility ruling is left to trial court
21 without close supervision. Steele v. Taylor, 684 F.2d 1193, 1202 (6th Cir. 1982).
22          Plaintiff’s Complaint alleges that, on or about July 7, 2021, he visited a Target store
23 in Alameda, California, where he was hit by a Target employee’s trolley while Plaintiff was
24 waiting in line for coffee. Plaintiff alleges that on date of the incident he suffered
25 injuries to his kidney, back pain, right lower side of his body pain and urinary issues
26 as a result of the subject incident. (See Pedone Decl., Ex. B)However, the undisputed
27 facts show that plaintiff did not suffer injuries after the subject incident occurred.
28                                              1                        Case No. 3:21-cv-08458-LB
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 1          He is seen on video walking around following Target employees.
 2          Rather, plaintiff did not seek medical treatment related to his injuries and has
 3 not produced medical records from the date of the incident, on July 7, 2021, or
 4 anytime thereafter. (See Pedone Decl., Ex. D.)
 5          Plaintiff alleges in his Complaint that "an employee of Target Store use [sic] a trolley
 6 to "deliberately" – consciously and intentionally "HIT" me in my right kidney with a trolley
 7 and walked away, then I reported the incident (assault and battery) to the store." Pedone
 8 Decl. Ex. A at p. 4. No further factual allegations are made by Plaintiff in his Complaint.
 9 However, Plaintiff later described the incident during his deposition on July 8, 2022, as
10 follows: "[O]n that day, as indicated, I went to get lunch, and I went to Starbucks [at
11 Defendant's store location]. . . . And I was in the line, and then through peripheral vision to
12 my right, I noticed this person just coming at me, just – just came straight at me. And the
13 lady just hit me with a trolley, and she stopped. And then I looked at her, and I – I asked her,
14 are you – are you crazy? And – and I walked over to her, and I asked her – I asked her if she
15 was crazy? And then she – she said, get out of her, ni**er [sic]. and i said, are you – well, I
16 did curse at her. I said, who – and then I said, who is your manager? . . . and then I reported
17 the incident. I filed a complaint, and I asked who was her – what's her name is, and they
18 refused to give me her name, because I wanted to file a police report." (Pedone Decl. Ex. B
19 at 44:6-47:11.) Plaintiff also testified at his deposition that he believed Defendant's
20 employee intentionally hit him with the cart because he is black. (Pedone Decl. Ex. B at
21 49:6-10.) Plaintiff believes that the employee who allegedly hit him with the cart is Latino
22 but it is possible that she was also black. (Pedone Decl. Ex. B at 48:17-18 and 49:17-50:5.)
23 Plaintiff did not get the names of any witnesses to this incident nor does he recall seeing
24 anyone behind or to the side of him just prior to the incident occurring. (Pedone Decl. Ex. B
25 at 66:11-17 and 67:1-7.) Plaintiff did not immediately make a report but returned to
26 Defendant's location later to do so. Plaintiff did not assert that Defendant's employee called
27 him this racial expletive at the time he made an incident report with Defendant on July 10,
28 2023.                                        2                        Case No. 3:21-cv-08458-LB
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                                  GABRIELLA PEDONE
       Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 5 of 50




 1         However, Plaintiff also stated that he had no idea what the employee was thinking
 2 when she pushed the cart into him. (Pedone Decl. Ex. B at 75:6-8.) Plaintiff similarly stated
 3 that he "didn't know she was going to hit me with the cart." (Pedone Decl. Ex. B at 47:24-
 4 25.)
 5         Plaintiff seeks both compensatory and punitive damages in a total amount of
 6 $20,000,000.00 for the alleged causes of action in the instant lawsuit.
 7         Defendant recovered video footage of the incident. (Pedone Decl. Ex. C) This
 8 video footage shows at approximately 12:25 p.m. on July 8, 2021, an employee of
 9 Defendant appears to be pushing a cart, however this is difficult to discern from the
10 footage. The video then shows Plaintiff following Defendant's employee, Ms.
11 Kimara Smith. At 12:26 p.m., the video footage shows Plaintiff walking back to the
12 Starbucks area and walking back out. Plaintiff is seen speaking to two of
13 Defendant's employees, but this is not visible in the video. At 12:29 p.m., Plaintiff is
14 seen speaking to a female employee of Defendant and then she walks away. Plaintiff
15 then walks back to the Starbucks area. At 12:30 p.m., Plaintiff appears to be waiting
16 for something, although he does not sit down at any time or appear to be limping. At
17 12:31 p.m., Plaintiff is seen speaking to the same female employee of Defendant. At
18 12:35 p.m., Plaintiff is seen still speaking to the same female employee of
19 Defendant. At 12:39 p.m., Plaintiff is seen leaving Defendant's premises. (See
20 Pedone Decl. Ex. C https://vimeo.com/manningkass/jacksonvtarget.)
21         Further, Federal Rules of Evidence rule 402 states in pertinent part: “[E]vidence
22 which is not relevant is not admissible.” Here, Plaintiff did not suffer from any
23 injuries during the subject incident. He did not seek any medical treatment or produce
24 any medical expenses for treatment related to any alleged injuries. (Id.) Therefore,
25 any and all reference to plaintiff's injuries, medical treatment, medical expenses and
26 special damages is irrelevant and prejudicial to Defendant.
27
28                                         3                    Case No. 3:21-cv-08458-LB
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     AND ARGUMENT RELATING TO PLAINTIFF’S MEDICAL TREATMENT, MEDICAL EXPENSES OR
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                                  GABRIELLA PEDONE
       Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 6 of 50




 1         Furthermore, allowing evidence of plaintiff's injuries, medical treatment,
 2 medical expenses and special damages, when plaintiff has not produced any medical
 3 records clearly contradict this allegations, will unduly prejudice Defendant, cause
 4 confusion of the issues, and mislead the jury, given that the alleged injury did not
 5 occur and no medical evidence supports that plaintiff suffered any injuries. . See Fed.
 6 R. Evid. 403.
 7 III.    CONCLUSION.
 8         For all the foregoing reasons, Defendant respectfully request that the Court
 9 exclude all evidence of any and all references to plaintiff's injuries, medical treatment,
10 medical expenses and special damages after the subject incident, as none of the
11 medical evidence supports an injury as there is no medical evidence. Alternatively,
12 Defendant request that such evidence be excluded from the liability phase of the trial.
13
14 DATED: January 17, 2024                MANNING & KASS
                                          ELLROD, RAMIREZ, TRESTER LLP
15
16
17                                        By:         /s/Gabriella Pedone
18                                              David V. Roth
                                                Gabriella Pedone
19
                                                Attorneys for Defendant, TARGET
20                                              CORPORATION
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28                                         4                    Case No. 3:21-cv-08458-LB
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     AND ARGUMENT RELATING TO PLAINTIFF’S MEDICAL TREATMENT, MEDICAL EXPENSES OR
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                                  GABRIELLA PEDONE
       Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 7 of 50




 1                    DECLARATION OF GABRIELLA PEDONE
 2         I, Gabriella Pedone, declare as follows:
 3         1.    I am an attorney duly admitted to practice before this Court. I am an
 4 attorney with Manning & Kass, Ellrod, Ramirez, Trester LLP, attorneys of record for
 5 Defendant, TARGET CORPORATION. I have personal knowledge of the facts set
 6 forth herein, and if called as a witness, I could and would competently testify thereto.
 7 I make this declaration in support of Defendants’ Motion in Limine to Exclude All
 8 Evidence and Argument Relating to Plaintiff’s injuries, medical treatment, medical
 9 expenses and special damages.
10         2.    Attached hereto as Exhibit A is a true and correct copy of Plaintiff’s
11 Complaint originally filed in the Superior Court for the County of Alameda,
12 California on August 24, 2021.
13         3.    On July 8, 2022, our firm conducted a video deposition of Plaintiff
14 Bryon Jackson. Attached hereto as Exhibit B are true and correct copies of the
15 relevant excerpts of the deposition transcript of Bryon Jackson conducted on July 8,
16 2022.
17         4.    Defendant recovered video footage of the incident. This video footage
18 shows at approximately 12:25 p.m. on July 8, 2021, an employee of Defendant
19 appears to be pushing a cart, however this is difficult to discern from the footage.
20 The video then shows Plaintiff following Defendant's employee, Ms. Kimara Smith.
21         5.    At 12:26 p.m., the video footage shows Plaintiff walking back to the
22 Starbucks area and walking back out. Plaintiff is seen speaking to two of
23 Defendant's employees, but this is not visible in the video.
24         6.    At 12:29 p.m., Plaintiff is seen speaking to a female employee of
25 Defendant and then she walks away. Plaintiff then walks back to the Starbucks area.
26         7.    At 12:30 p.m., Plaintiff appears to be waiting for something, although
27 he does not sit down at any time or appear to be limping.
28                                          1                   Case No. 3:21-cv-08458-LB
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                                  GABRIELLA PEDONE
       Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 8 of 50




 1         8.     At 12:31 p.m., Plaintiff is seen speaking to the same female employee
 2 of Defendant.
 3         9.     At 12:35 p.m., Plaintiff is seen still speaking to the same female
 4 employee of Defendant.
 5         10.    At 12:39 p.m., Plaintiff is seen leaving Defendant's premises.
 6         11.    Embedded in the following link
 7 https://vimeo.com/manningkass/jacksonvtarget as Exhibit C is a true and correct
 8 copy of the video footage of the incident involving Plaintiff that occurred on
 9 Defendant's premises as recovered by Defendant. .
10         12.    Attached hereto as Exhibit “D” are true and correct copies Plaintiff's
11 responses to request for production of documents with no medical records.
12         13.    If the evidence requested to be excluded is allowed in the liability phase
13 of trial, it will cause confusion of the issues for the jury, and will seriously prejudice
14 the Defendants.
15         I declare under penalty of perjury under the laws of the United States of
16 America that the foregoing is true and correct.
17         Executed on this 17th day of January, 2022, at Los Angeles, California.
18
19                                                  /s/ Gabriella Pedone
20                                              Gabriella Pedone
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28                                         2                    Case No. 3:21-cv-08458-LB
      NOTICE OF MOTION AND MOTION IN LIMINE BY DEFENDANT TO EXCLUDE ALL EVIDENCE
     AND ARGUMENT RELATING TO PLAINTIFF’S MEDICAL TREATMENT, MEDICAL EXPENSES OR
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                                  GABRIELLA PEDONE
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           EXHIBIT A
                                                              _
                          Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 10 of 50
                                                                                                                                                EME
  ATTORNEY OR PARTY rN             ATTORNEY (Name, State Bar number, and address):

         Bryon A adhson
                                                                                                                                      FOR COURT USE ONLY



          veo Gari                        llge Ruthadan , AlowadncA 8
            TELEPHONE NO: [20 ) ~T1b~ LIF                              FAX NO. (Optional):
  E-MAIL ADDRESS (Optional):

    ATTORNEY FOR (Name):
                                                                                                                         s     pon          ft   S 4
 SUPERIOR COURT OF CALIFORNIA,                         GOUNTY OF;      AL omudlte                                        fas   |      e           ee
         STREET ADDRESS: lads                   ¥       ov"       ct                                                   ALAWIZIS Ot UNTY
        crvmozecsoe Onhland CA 4b 1d                                                                                           AUG 2 4 2021
            aN                   b yn Zadtson                                                                     cere abion by dis
           DEFENDANT: A                     ,                          da.               A                        By                        e     pd
                                 larock ~ Alameda,                                 CA         %4%0)
 Sis 21H) Kite St Ahewda c.
 COMPLAINT—Personal Injury, Prdperty Darhage, ral                                                     | F
      [-__] AMENDED (Number):   i)
 Type (check all that apply):      aMAGW) +01 amu}
 [] MOTOR VEHICLE                                   OTHER (specify):
       [__] Property Damage                         [__] Wrongful Death
       [_] Personal Injury                          [__] Other Damages (specify):
 Jurisdiction (check all that apply):
                                                                                                                       CASE NUMBER:
 L__] ACTION IS A LIMITED CIVIL CASE
        Amount demanded                [__] does not exceed $10,000
                                       [__] exceeds $10,000, but does not exceed $25,000
 [>< ACTION IS AN UNLIMITED CIVIL CASE (exceeds $25,000)
 [__] ACTION IS RECLASSIFIED by this amended complaint                                                                  REZ               111 04 9 9
       L_] from limited to unlimited
       [__] from unlimited to limited                             Jy
1. Plaintiff (name or names):    Eryon     Awhso
   alleges causes of action against defendant (name or names):                               Aorqa      _ Al ano,                  C A     4450)

2. This pleading, including attachments and exhibits, consists of the following
                                                                                number of pages:
3. Each plaintiff named above is a competent adult
   a. [__] except plaintiff (name):                                                                     b,              WA wh
           (1)        a corporation qualified to do business in California                                   rym        4\    g ™M"                / S
           (2) L_] an unincorporated entity (describe):
           ( ’ [_] a public entity (describe):                                                          lar
           (4) ) (__] aminor [[—] an adult                                                                               -     Namede,             ) CA
                               (a) (-_] for whom a guardian or conservator of the estate x                   OO        En      Shas flowed                 a, CA
                     (b) [__] other (specify):
           (5) L__] other (specify):
   b. [__] except plaintiff (name):
               (1) [-] a corporation qualified to do business in California
               (2) [__] an unincorporated entity (describe):
               (3) [_] a public entity (describe):
               (4) [J aminor [__] an adult
                           (a) [__] for whom a guardian or conservator of the estate or a guardian
                                                                                                   ad litem has been appointed
                       (b) [__] other (specify):
              (5) [__] other (specify):

  [J     Information about additional plaintiffs who are not competent adults is shown in
                                                                                          Attachment 3.
                                                                                                                                                              Page 1 of 3
                                Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 11 of 50

                                                                                                                                          PLD-PI-001
      SHORT TITLE:                                                                                        CASE NUMBER:



                                                  Z
 4. [X] Plaintiff (name):               mM     J \abrsird
               is doing business nt the fictitious name (specify):

               and has complied with the fictitious business name laws.
 5.    Each defendant named above is a natural person
       a. [__] except defendant (name):                                         c. L_] except defendant (name):
               (1) [_] a business organization, form unknown                             (1) [__] abusiness organization, form unknown
                   (2) [>< a corporation                                                 (2) S<f a corporation
                   (3) [__] an unincorporated entity (describe):                         (3) [__] an unincorporated entity (describe):

                   (4) (__] a public entity (describe):                                  (4) (]    a public entity (describe):

                   (5) [__] other (specify):                                             (5) [-_] other (specify):



      b. [__] except defendant (name):                                         d. (__] except defendant (name):
              (1) [__] a business organization, form unknown                             (1) [__] a business organization, form unknown
              (2) [S<] a corporation                                                     (2)       a corporation
                   (3) [__] an unincorporated entity (describe):                         (3)       an unincorporated entity (describe):

                   (4) [_] a public entity (describe):                                   (4) [-_] a public entity (describe):

                   (5) [_] other (specify):                                              (5) (__] other (specify):


       [__] Information about additional defendants who are not natural persons is contained in Attachment 5.
 6.     The true names of defendants sued as Does are ugha               to plaintiff.
        a.            Doe defendants (specify Doe numbers):                  =                  were the agents or employees of other
                      named defendants and acted within the scope-aj     that agency or employment.
        b.   [__] Doe defendants (specify Doe numbers):                                            are persons whose capacities are unknown to
                  plaintiff.
7.      [__] Defendants who are joined under Code of Civil Procedure section 382 are (names):



8.      This court is the proper court because
        a. [__] at least one defendant now resides in its jurisdictional area.
        b. [__] the principal place of business of a defendant corporation or unincorporated association is in its jurisdictional area.
        c. [__] injury to person or damage to personal property occurred in its jurisdictional area.
        d. [-_] other (specify):



9.     {_]      Plaintiff is required to comply with a claims statute, and
        a. bx] has complied with applicable claims statutes, or
        b. ["_] is excused from complying because (specify):




PLD-PI-001 [Rev. January 1, 2007}
                                     Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 12 of 50

                                                                                                                                               PLD-PI-001
t=




            SHORT TITLE:                                        :                                              CASE NUMBER:



       10.      The following causes of action are attached and the statements above apply to
                                                                                              each (each complaint must have one or more
                causes of action attached):
                 a.   [__] Motor Vehicle
                 b.   [__] General Negligence
                 c.   [_] Intentional Tort
                d.    [__] Products Liabitity
                e.    [__] Premises Liability
                f.    [=,Other (specify):
                                                                                                                                  rg
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                                                                          aie                Aean                         age                 wd    ponte
                  suffefred
              has if
      11. Plaint                                               OR
               a. [__] wage loss
               b. [JI               f          f       rt                   ay
               c« [_] hospital and medica expenses                         \—          Dat    wii                    —        4 4 000, ppd -00
               d.     general damage                                     (!)                                                            bd -<DD
               @. =         property damage                              (2) —      Lys                             He ~ 4%, 00                b                 .
               f.           loss of earning        capacity                                                                                              ‘
               g.           other damage (specity).                       ¢)~-     A    Niu                              A        4, 00°)          DDD       D

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                                                                                     ll
                                                                          [\- Krol yabh                 le W Town ~4¥ 0, pp>-
       12.    []        The damages claimed for wrongful death and the relationships of plaintiff to the deceased                426, 002 ob): 7
                                                                                                                  are
               a. [-_] listed in Attachment 12.
               b. [_] as follows:




      13.     The relief sought in this complaint is within the jurisdiction of this court.




      14.     Plaintiff prays for judgment for costs of suit: for such relief as S fair, just, and equitable; and for
              a. (1) F<] compensatory damages                       40, 509, 000: 0
                 (2) [><] punitive damages                          aq 0, Bod 10 oO: 0
                      The amount of damages is (in cases for personal iinjury or wrongful death, you must check
                                                                                                                (1)):
                      ” ) (_] according to proof
                       2) [__] in the amount of: $
     15.      =        The paragraphs of this complaint alleged on information and belief are as follows (specify
                                                                                                                  paragraph numbers):




     Date:


                          slaylanay     (TYRE OR PRINT NAME)
                                                                                             eG        (SIGNATURE OF PLAINTIFF OR ATTORNEY)
     PLO-PI-001 (Rev, January 1, 2007}                          COMPI     AIN
                                Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 13 of 50

                                                                                                                                       MC-031
        PLAINTIF F/PETITIONER:                   ov)   Aadhean                                          CASE NUMBER:
     DEFENDANT/RESPONDENT:                   a             W0d       1 fi x        \\ ommere,w CA


                                                                    DECLARATION
                                 (This form must be attached
                                                          to another form or court paper before it can be filedin court)



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 (4) > Each                          ‘bh               | fasta V5 907 00


                                                                                        ee
                                                                                        the foregoing is true and co


                                             7
  declan                    nalty of perjuryunder the laws of the State of California that




                                                                              LJ    Attorney for   [] Plaintitf   [1 Petitioner . CJ Defendant
                                                                              LJ    Respondent     LJ Other (Specify):

 mm Approved for Optional Use            |                 ATTACHED DECLARATION
Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 14 of 50




            EXHIBIT B
        Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 15 of 50

     BRYON U. JACKSON                                                                       July 08, 2022
     JACKSON vs TARGET                                                                                      1

                              UNITED           STATES           DISTRICT        COURT

                          NORTHERN             DISTRICT           OF     CALIFORNIA

                                       SAN     FRANCISCO           DIVISION




      BRYON      JACKSON,                                  Case        No.     3:21-cv-08458-LB

                          Plaintiff,

           VS.


      TARGET      CORPORATION,

                          Defendant.




           VIDEOTAPED               ZOOM       VIDEOCONFERENCE                  DEPOSITION      OF

                                            BRYON     URIAH       JACKSON

                                            ALAMEDA,       CALIFORNIA

                                                    JULY   8,     2022




24

25    REPORTED      BY:          MICHAEL             CUNDY,       CSR        12271




     Z ESQ          UIRE
                     DEPOSITION SOLUTIONS
                                                                                     800.211.DEPO (3376)
                                                                                     EsquireSolutions.com
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     BRYON U. JACKSON                                                                                 July 08, 2022
     JACKSON vs TARGET                                                                                             2

                            DEPOSITION                   OF   BRYON          URIAH     JACKSON,        taken

      at     1350    Marina          Village             Parkway,            Suite     433,     Alameda,

      California,           on        Friday,            July        8,     2022,     at   9:29    A.M.,

      before        Michael           Cundy,            Certified            Shorthand         Reporter,       in

      and     for    the    State               of    California.




      APPEARANCES:

      IN     PROPRIA       PERSONA:

                                                BRYON  URIAH  JACKSON
                                                 (Via videoconference)
                                                1350  Marina              Village      Parkway
                                                Suite  433
                                                Alameda,            California         94501
                                                (201)  776-4282
                                                zaqwl1478@hotmail.com

      FOR     THE    DEFENDANT:

                                                MANNING         &    KASS
                                                ELLROD,       RAMIREZ,              TRESTER     LLP
                                                BY:      DAVID        V.     ROTH,     ESQ.
                                                 (Via  videoconference)
                                                One   California  Street
                                                Suite     900
                                                San     Francisco,            California          94111
                                                (415)  217-6990
                                                davr@manningllp.com

      ALSO     PRESENT:

                                                BRIAN  KIELHACK
                                                VIDEOGRAPHER




24

25




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      BRYON U. JACKSON                                                  July 08, 2022
      JACKSON vs TARGET                                                              3

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        WITNESS:        Bryon   Uriah       Jackson
W
BP




        EXAMINATION:                                                    PAGE
OF




        By    Mr.   Roth                                                    5
WD
NY
CoO




                                    INDEX     OF   EXHIBITS

        EXHIBITS                                                       MARKED

                                    (None     were    marked)




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      BRYON U. JACKSON                                                                                                         July 08, 2022
      JACKSON vs TARGET                                                                                                                    44

                  A           I    have       not           --        I'm    thinking                  about        it.
FR




                  Q           Okay.            So          --    but        you        haven't           seen           a    doctor
NHN




        for       any        reason          in        about           15    years;            is       that        correct?
DO




                  A           Correct.
od




                  Q           Okay.           All           right.

                              Let's          talk           about           the        incident           at        Target.

                              Do       you     recall,                 approximately,                     what              time     of

        day       the        incident              occurred?

                  A           I'm       --        I'm       going           to        say     it's       about              12:15     to

        about          12:30.

                  Q           And       you        drove           to       the        Target           store           from        your

       home ?

                  A           Correct,                 correct.

                  Q           And       when           you       came        into            the       store,           where        did

        you       go    first?

                  A           I    went        into             the     --        I    don't           remember              exactly

       where,           but        I    know           I    went        to       the         Star-       --     I       don't        know

        if    I       went        --    I    don't              remember,               but        I    know        I       went     in    --

        I    went       there           to    get           lunch,           and        I     went       to     the          Starbucks

        coffee          shop.

                  Q           Okay.

                  A           There's              a       Starbucks.                   That's           --     that's             where

        the       incident              happened.

                  Q           Did       you        go       anywhere                  else     in       the     store          prior

        to    going           into          the        Starbucks?


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      BRYON U. JACKSON                                                                                                               July 08, 2022
      JACKSON vs TARGET                                                                                                                          47

       wanted            to        file          a    police            report.
FR




                               I    went             back        there,                I    think,           two           more      times
NHN




        trying           to        find          who        was        her        --        what's           her           name     because
DO




        I    wanted           to     file             a     police           report,                   and        I     waited        and
od




       waited,            and        no          one        would        give               me     her       name.

                              And         finally,                 I    waited                  and        waited,            and     then         I

        just        started              a       police            report                  and     file           it,        still

       waiting            for        a       name,              and     Target                  would        not           give     me       her

        name.

                               So    that's                 exactly               what            --       what         happened             on

        that        day

                Q             Why        did          you        want        to            file        a    police            report?

                A             Because                  I    wanted           to            get     her       arrested.                   I    know

        it    was        100        percent                 deliberate.                           She       hit         me    deliberate.

        It    was        intentional.

                Q             And        why          do        you     think               it     was       intentional?

                A             Because                  I    went        over               to    her        and         asked        her,         are

        you     crazy,              and          I    yell         at    her               and     asked              her     if     she's

        crazy,           and        she          said,           get     out               of    here,        nigger.

                Q             Okay.

                A              So    I       know           that        was            intentional.

                Q             Okay.                  So     --     so    had               you     ever           seen        her     before?

                A             No.            I       had        never         seen              this        lady           before.            I

       have         no    knowledge                        of    her.             JI       didn't           know           she     was       going

        to    hit        me        with          the        cart.             I        don't           know           --     you     know


      Zz ESQUI      RE                                                                                                     800.211.DEPO (3376)
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      BRYON U. JACKSON                                                                                                            July 08, 2022
      JACKSON vs TARGET                                                                                                                       48

       what,        I       go     to      that           --       that        shop           all        of     the        time.          It's
FR




       my     one-stop                shop.
NHN




                             It's          probably                  the       only           shop        in     Alameda             that
DO




        everyone             goes          to.
od




                             So       I    don't              know        if       she        had        seen        me      before

        there,          or       --       but        I    don't           recall              seeing            her        there

       before.

                Q            Any          idea           why       --     strike              that.

                             No       prior              interactions                        with        her?

                A            No.            I       had       no     prior          interaction                      with         this

        lady.           I    --       if        I    saw        --      if     I    saw        her        now,            I'm     probably

        not     able         to       identify                 her.

                Q            Can          --

                A            I     have             never          seen        this           person           before.

                Q            Can          you        give          me     any       description                      of      what        she

        looked          like?

                A            I     would             probably                 say     she's              Latino,             about

        five,       six,           smaller                built,              but        I    --     I    didn't             really         --

        she     may         have          been           --    was        wearing              mask.             I        don't

        remember,                but       --        and       probably               if       I     see        her        now,      she

       probably              would              be       able        to       walk           past        without             me

        recognizing                   her           if    she        took          the        mask        off.

                             So       I    --        I    would           say       about            five,            six,        skinny

       built,           probably                    Latino.               I    --     that's              all         I    probably

        could       have           said.



      Zz ESQUI      RE                                                                                               800.211.DEPO (3376)
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      BRYON U. JACKSON                                                                                                               July 08, 2022
      JACKSON vs TARGET                                                                                                                          49

                Q              Did         --     did       she        have          an       accent            when           she        spoke?
FR




                A              She         --     I    barely             heard              her     when           she        said,           get
NHN




        out     of        here,            nigger.               When           I    went          over         --        I    don't
DO




        remember               if        she      have          an     accent.                 I     don't               remember.                   I
od




        don't         remember.

                Q              And         is     it       your        contention                    that           she

        intentionally                       hit        you       with        the             cart     because                  you        are

       black?

                A              Yes.              Well,          that's              what       --     I        would           have        to

        say     that,               yes.

                               And         that's           the        only          reason           why            I    file        a    suit,

       believe                me.          If     she       didn't              say          that,         I    probably                  would

        just         walk           away.             If    she        had          said       it     was           --        you     know,

        if     she        had           said      to       me     it      was        an       accident,                   this        --       we

       would          not           be     here.            That's           the             only     reason                  why     I    file

        a    lawsuit.

                OQ             And         she        wasn't           black?

                A              No,         no.         You        know       what,             she         could              have

       been          --       she        could         have          been.               I    mean,            black           people

        sometime               they         could           be       as    light              as     --        as        --    and        as

        dark,         but           I    didn't            really          see           her        face        that           well,           but

        I    know         I    walked             up       to    her       because                  she        may        --     she       could

       have          been           wearing            a    mask.

                               I        probably            --       who        knows?               She        could           have           been

       black          --       fairer-skin                      black.               I       didn't            see        her       that



      Zz ESQUI      RE                                                                                                   800.211.DEPO (3376)
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      BRYON U. JACKSON                                                                                                           July 08, 2022
      JACKSON vs TARGET                                                                                                                      50

       well,         because             she          may       have           been     wearing                  a       mask,           but    I
FR




        remember           I    walked                over          to     her,        and        I    said,              are        you
NHN




        crazy?
DO




                           And          she       said          to       me,      get       out        of        here,           nigger,
od




               Q           Okay.              Now,             did       you      yell,          are        you           crazy?

               A           I    did          yell          at       her,        yes,        I    did.                I    did.

               Q           You          yelled             it       loud        enough            for       everyone                     else

        in    the     store             --     or         the       Starbucks               to        hear?

               A           I    don't             know          if       the      Starbucks                 hear              because

        they       were        play          --       I    think           they        were           playing                 some

       music.             There          was          always             --     there           probably                  was        a

        radio,        something.                          There's              music        in        the        --       from           the

        store        or    --       I    --       I       --    I    don't            know       if        they           heard           me

       because            --    I       don't             know       if        they     heard              me.

               Q           And          how       loud          did        she        say       to     you,              get     out       of

       here,         nigger?

               A           I    didn't                --       she       didn't         say           it    that              loud.

               Q           Okay.

               A           She          just          said          it     under        her           breath.

               Q           Okay.              And          do       you        think        anyone               else          could

       have        heard        that           statement?

               A           It's          possible                   not        because            I    kind              of    walked           up

        to    her.

               Q           Okay.



      Zz ESQUI      RE                                                                                               800.211.DEPO (3376)
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      BRYON U. JACKSON                                                                                                       July 08, 2022
      JACKSON vs TARGET                                                                                                                  66

       because             she       just        finished                purchasing                  something,                and
FR




        then        she     turned              around.              It's          an     Asian            lady.
NHN




                            I     don't          think         --        she's          probably                the     only        one
DO




        that        --
od




               Q            Did          you     --

               A            She          turned         around.                I    don't            know         if    she      --

        she    probably                  --     you     know         what,           I'm        not        assuming            if

        she     --       I'm      not          making         any        assumption,                  but        there         was

        two    persons               in        front     of        me.         I    was         the        last        person         at

        the    back.

               Q            Did          you     get     the         names          of     any        witnesses                to     the

        incident?

               A            I     was          not     able        to     because               --

               Q            Okay.

               A            --       I    wanted         to        report           it,         and        by    the     time         --

        there        was        only           three     of        us.         The        two        persons            seemed

        like        they        left,           and     --     no,        I    didn't            get        any        names.

               Q            Did          you     see     any         of       those        --        any        of     the     people

        that        were        in       line,         the     customers                  at     Target,               speak        to

        any     employee                 of     Target         about           the        incident?

               A            No,          no,     no.

               Q            Okay.               And     was        there           anybody            behind            you      or      to

        the     side        of       you        --

               A            No.           Not        that      I     recall,              no,        no.

               QO           Let          me     finish.



      Zz ESQUI      RE                                                                                          800.211.DEPO (3376)
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      BRYON U. JACKSON                                                                                                 July 08, 2022
      JACKSON vs TARGET                                                                                                            67

                            Was        there           anybody            behind            you     or    to     the        side
FR




        of    you     just           prior         to     the           incident            or    at     the     time        of
NHN




        the     incident?
DO




               A            No,        not        that        I    remember                seeing.
od




               Q            Okay.

               A            It's           possible,               but     I     don't           recall         anyone

       behind         me.

               Q            You        wouldn't               describe               the     --    and         I'm     just

        following               up     --        you    wouldn't               describe             the       strike         to

        your       body         as     a    bump,         would           you?

               A            No.

               Q            Okay.

               A            I     --       it     felt        like        somebody               just     exerted            a

       pressure             to       deliberately                   cause            harm.          It    was,         like,          an

        increased               velocity               that        was     coming            from        the     chair.               It

       was      --     it       was        obvious            that        the        person        exerted            that

        force        to     create               some     damage           in        me.

               Q            Okay.                And     you       were        looking            straight            ahead

       when        the      incident               occurred;               correct?

               A            Yes.             I    was     looking              towards            the     --     I    was        in

        the     line        just           looking            towards            the        person        who        was

        selling           the         coffee.             I       was     in     a    Starbucks               coffee          line.

               Q            Okay.                And     you       were        standing             still?

               A            Correct.

               Q            All        right.             At       some        point         that        --     that



      Zz ESQUI      RE                                                                                    800.211.DEPO (3376)
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      BRYON U. JACKSON                                                                                             July 08, 2022
      JACKSON vs TARGET                                                                                                        75

       possible.                  She        probably             thought            I    was     going       to   steal
FR




        something            inside.
NHN




               QO           Okay.             You       were       standing               in     line    at
DO




        Starbucks;                correct?
od




               A            Yes,        correct.

               Q            So     you        have        no      idea        what        she     was    thinking

       when         she     was        pushing            her      cart,           do     you?

               A           No,         no.

               Q           No.          And        you       are       not     the        only     black       person

        that        walks         into        the       Target           in    Alameda;            is    that

        correct?

               A            That's            correct.                 That's            correct.

               QO           There            are     numerous             African              American         and   black

        employees            that            work       in       that     Target?

               A            Correct,               correct.               I    would           assume     that,        sure.

               Q            The        City        of     Oakland             is    directly            adjacent        to

        the    City         of     Alameda              by       way     of    the        Webster        Tube;

        correct?

               A            That's            correct.

               Q           And         the     City          of    Oakland               is    predominantly

       African            American;                correct?

               A            Correct.                 That's             correct.               That's      correct.

               Q            Okay,            okay.

                           And         there         is      a    significant                  homeless

       population                 in    the        Bay       Area;        correct?


      Zz ESQUI      RE                                                                                  800.211.DEPO (3376)
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     BRYON U. JACKSON                                                                                               July 08, 2022
     JACKSON vs TARGET                                                                                                          95

      STATE     OF    CALIFORNIA                                                       )
                                                                                       )     SS:
      CITY     AND    COUNTY               OF          SAN    FRANCISCO                )




                                                  I,        Michael        Cundy,           CSR       No.         12271,       a

      Certified            Shorthand                    Reporter           of    the        State           of

      California,                do      hereby              certify:

                                                  That        the       foregoing            proceedings                   were

      taken     before            me       at         the     time        and    place           herein            set

      forth;        that         any      witnesses                  in    the    foregoing

      proceedings,                prior               to     testifying,              were           placed         under

      oath;     that         a    verbatim                   record        of    the        proceedings                  was

      made     by    me      using           machine                shorthand              which       was

      thereafter             transcribed                      under        my    direction;                  further,

      that     the     foregoing                       is    an    accurate           transcription

      thereof.

                                                  I     further           certify           that       I     am     neither

      financially                interested                   in     the    action           nor       a     relative              or

      employee         of        any       attorney                or     any    of        the       parties.

                                                  IN        WITNESS        WHEREOF,              I    have         this     date

      subscribed             my       name.




      Dated:         July          13,       2022


                                                                                  at lomdy
24
                                                              Michael           Cundy,           CSR        No.     12271
25



     Zz      ESQUIRE                                                                                   800.211.DEPO (3376)
                           DEPOSITION SOLUTIONS                                                        EsquireSolutions.com
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      BRYON
         U. JACKSON                                                                                       July 08, 2022
      JACKSON
           vs TARGET                                                                                                 96

              DEPOSITION               ERRATA           SHEET
FEF
NY
W




        Our     Assignment                  No.         J8420346
BP




        Case     Caption:                   Jackson
OF




        vs.     Target           Corporation
WD
NY
CoO




                DECLARATION                  UNDER           PENALTY        OF        PERJURY

                     I    declare           under        penalty           of     perjury

        that         I    have     read           the    entire           transcript              of

        my     Deposition               taken           in    the     captioned              matter

        or     the        same     has       been        read        to    me,        and

        the     same        is     true           and    accurate,               save       and

        except            for     changes           and/or           corrections,                 if

        any,     as        indicated               by    me     on    the        DEPOSITION

        ERRATA            SHEET        hereof,           with        the    understanding

        that         I    offer        these        changes           as    if        still       under

        oath.

                         Signed        on    the                      day        of

                                   ,     20.




                 Bryon           Uriah            Jackson




      Zz ESQUI      RE                                                                            800.211.DEPO (3376)
             DEPOSITION SOLUTIONS                                                                 EsquireSolutions.com
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            EXHIBIT C
134460H0001          as of 09/20/2021
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Guest Incident Details
 Claim Number                     134460H0001                                           Date of Incident                    07/08/2021
 Building                         T2829 - 2829 - Alameda                                Time of Incident                    12:20 PM
                                                                                        Date Target Notified                07/08/2021

                                                                                        Date Submitted     Electronically   07/08/2021

                                                                                        Status                              Open




Incident Details

 Incident Type                    Struck By/Hit Against                                 Incident Department                 Food Service

 Incident Object                  Stores Flatbed, Tub, Opti-Cart, 3 Tiered Cart         Incident Area                       Starbucks

 Video Available                  Yes                                                   Property Damage                     No

 AP Team Member who partnered     shane Callanta
 w/ video



Guest Incidents cannot be updated within Origami. Contact Sedgwick directly at TargetIncidents@Sedgwickcms.com                      with any updates to this record.


Guest Name and Incident Description are hidden for privacy reasons.



Enter Team         Member Witnesses                                                                                                               ‘F New Additional Contact




Guest Information

 Guest Name                       Bryon Jackson                                         State                               California
 Is Guest A Minor                 No                                                    Zip Code                            94501



 Incident Description             A guest by the name of Bryon Jackson, claimed

                                  that he was assaulted by a Target team member

                                  in the Starbucks location. Jackson, stated that
                                  he was waiting in Starbucks and a Target team

                                  member hit him with a cart and "pushed" him

                                  "out of the way". Jackson, repeatedly stated that

                                  he was going to sue her or Target for assault.

                                  Jackson, also stated that the TM was "crazy"

                                  and doesn't "know what she was thinking".



                                  Once ETL-AP Shane C., and ETL-Style Lucina I.,

                                  approached Jackson, to complete the Guest

                                  Incident packet, Jackson stated that he had to

                                  be "on a ZOOM    Call" and cant do the report now.

                                  Jackson, asked if he could take the report home,

                                  but was informed that we would need to fill it out
                                  in store. Jackson, stated that he had to leave,
                                  but would be back to fill out the report at a later

                                  time.




Medical Treatment

 Offsite Medical Treatment        No                                                    Ambulance/911      Called           No

 Body Part                        Leg - Lower                                           Reported to Police                  No
                                                                                                    Bldg Questions Validity              No
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Claim Details

 Fiscal Year                          2021                                                         Coverage Subtype                      Premises Bodily Injury

 Fiscal Quarter                       02                                                           Claim Substatus                       Accepted

 Fiscal Month                         06

 Fiscal Week                          23




Record Properties

 Entry Date                           07/08/2021 8:31 PM                                            Policy Year                          2021
 Person Reporting First Name          Lucina                                                       Carrier Policy Effective Date         02/01/2021

 Person Reporting Last Name           Inzunza-Acosta                                               Carrier Policy Expiration Date        02/01/2022

 Person Reporting Email               Lucina.Inzunza-Acosta@target.com

 Modified Date                        09/19/2021 5:32 AM

 Modified User                        Scott Scheer



Emails

 Subject                  New Guest Incident 134460H0001             Reported for 2829 - Alameda

 To                       Lucina.Inzunza-Acosta@target.com

 Cc                       T2829.SD@Target.com, T2829.AP@Target.com, T2829.APTL@Target.com, T2829.APL@target.com, T2829.HR@Target.com,

                          T2829.HRTL@target.com

 From                     System    Process

 Date                     07/08/2021 8:31 PM
This is to confirm that a new guest incident has been reported at your location. Details of the incident are below:


Report Number:134460H0001
Guest Name:      Bryon Jackson
Loss Date: 7/8/2021
Loss Time: 12:20 PM


Person Reporting: Lucina.Inzunza-Acosta@target.com
Incident Location: Food Service - Starbucks -
Guest Attire:


Loss Description:
A guest by the name of Bryon Jackson, claimed that he was assaulted by a Target team member in the Starbucks location. Jackson, stated that he was waiting in
Starbucks and a Target team member hit him with a cart and "pushed" him "out of the way". Jackson, repeatedly stated that he was going to sue her or Target for assault.
Jackson, also stated that the TM was "crazy" and doesn't "know what she was thinking". Once ETL-AP Shane C., and ETL-Style Lucina |., approached Jackson, to
complete the Guest Incident packet, Jackson stated that he had to be "on a ZOOM               Call" and cant do the report now. Jackson, asked if he could take the report home, but
was informed that we would need to         fill it out in store. Jackson, stated that he had to leave, but would be back to fill out the report at a later time.


Next Steps:
Guest Incident Investigation Kit:A Guest Investigation Kit is required on all incidents and must be mailed within 24 hours.
Note: LOD Statement,     Witness Statement(s), photos and video are not required for Food Product Issue incidents or MI Scan Law Incidents.
Photographs:      Email copies of all photographs taken in .jpeg format referencing the claim number in the subject line. Photo's should be sent to
GuestReportingPhotos@Sedgwickcms.com.               Include in the email:
Store Number
Guest Name
Date and time photo was taken
Name of Person who took the photo
Video: Be sure to export video in both original (.g64) and open source (.asf) format. Please mail video to the Guest Reporting Center at CC-2820. Include the file/claim
number, guest name, date, time and location where the video was taken.
If you have any questions about the handling of this incident or need to provide additional information, please contact Sedgwick at 1-800-553-8723 or at
TargetIncidents@Sedgwickcms.com.
Do not reply to this email address as it is not monitored.
To access the claim to add witness information, click the link below
                            Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 31 of 50
https://live.origamirisk.com/Origami/Claims/view/9646834?_account=Target




Files



Abstract.pdf          Recap of Incident Intake Form                        Lucina Inzunza-Acosta   07/08/2021   76kb
Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 32 of 50




                      EXHIBIT D
           Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 33 of 50



 1       Bryon Jackson, PRO SE
 2       zaqw1478@hotmail.com
 3       1350 Marina Village Parkway
 4       Alameda, California 94501
 5       Tel: (201) 776-4282
 6

     8

     9                          UNITED STATES DISTRICT COURT
10        NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
 11

 12 BRYON JACKSON,                                  Case No. 3:21-cv-08458-LB
 13                  Plaintiff,                     (State Court Case No. RG21110499)
 14            v.                                   PLAINTIFF BRYON JACKSON
                                                    FIRST SET OF SPECIAL
                                                    INTERROGATORIES TO TARGET
                                                    CORPORATION
 15 TARGET – ALAMEDA, CA
         2700 FIFTH ST ALAMEDA, CA,
 16
                     Defendant.
 17                                                 Action Filed:        August 24, 2021
 18
19 PROPOUNDING PARTY: Plaintiff BRYON JACKSON

20 RESPONDING PARTY: Defendant, TARGET CORPORATION

 21 SET NO.:                         One
               Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Plaintiff
 22
23 Bryon Jackson, request that Defendant, TARGET CORPORATION answer the

24 following interrogatories.
                                           DEFINITIONS
 25
              A. “YOU”, “YOUR”, or “DEFENDANT” means and refers to TARGET
 26
27 CORPORATION; however, when documentation or knowledge in your possession or

28 under your control is requested, “YOU” and “DEFENDANT” also refers to responding


                     PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES TO
                                    DEFENDANT TARGET CORPORATION'S
      Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 34 of 50




 1 party, and all her past and present agents, employees, attorneys, and consultants and

 2 any other person or entity formerly or presently acting on responding party’s behalf

 3 in any way in connection with the instant action.

 4        B."DOCUMENT" or "DOCUMENTS" shall mean all documents,
 5 electronically stored information, and tangible things, including without limitation

 6 all writings (as defined in Section 250 of the California Evidence Code) and all

 7 other means of recording information, whether written, transcribed, taped, filmed,

 8 microfilmed, or in any other way produced, reproduced, or recorded, and including

 9 but not limited to: originals, drafts, computer-sorted and computer-retrievable

10 information, copies and duplicates that are marked with any notation or annotation

11 or otherwise differ in any way from the original, correspondence, memoranda,

12 reports, notes, minutes, contracts, agreements, books, records, checks, vouchers,

13 invoices, purchase orders, ledgers, diaries, logs, calendars, computer printouts,

14 computer disks, card files, lists of persons attending meetings or conferences,

15 sketches, diagrams, calculations, evaluations, analyses, directions, work papers,

16 press clippings, sworn or unsworn statements, requisitions, manuals or guidelines,

17 audit work papers, financial analyses, tables of organizations, charts, graphs,

18 indices, advertisements and promotional materials, audited and unaudited financial

19 statements, trade letters, trade publications, newspapers and newsletters,

20 photographs, emails, electronic or mechanical records, facsimiles, telegrams and

21 telecopies, and audiotapes. Each draft, annotated, or otherwise non-identical copy is

22 a separate DOCUMENT within the meaning of this term. DOCUMENTS shall also

23 include any removable sticky notes, flags, or other attachments affixed to any of the

24 foregoing, as well as the files, folder tabs, and labels appended to or containing any

25 documents. DOCUMENTS expressly include all ELECTRONIC RECORDS.

26        C."ELECTRONIC RECORDS" shall mean the original (or identical
27 duplicate when the original is not available) and any non-identical copies (whether

28 non-identical because of notes made on copies or attached comments, annotations,
                                           2
                  PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                               TO DEFENDANT TARGET CORPORATION'S
      Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 35 of 50




 1 marks, transmission notations, or highlighting of any kind) of writings of every kind

 2 and description inscribed by mechanical, facsimile, electronic, magnetic, digital, or

 3 other means. ELECTRONIC RECORDS includes, by way of example and not by

 4 limitation, computer programs (whether private, commercial, or work-in-progress),

 5 programming notes and instructions, activity listings of email transmittals and

 6 receipts, output resulting from the use of any software program (including word

 7 processing documents, spreadsheets, database files, charts, graphs and outlines),

 8 electronic mail, and any and all miscellaneous files and file fragments, regardless of

 9 the media on which they reside and regardless of whether said ELECTRONIC

10 RECORDS exists in an active file, deleted file, or file fragment. ELECTRONIC

11 RECORDS includes without limitation any and all items stored on computer

12 memories, hard disks, diskettes and cartridges, network drives, network memory

13 storage, archived tapes and cartridges, backup tapes, floppy disks, CD-ROMs,

14 removable media, magnetic tapes of all types, microfiche, and any other media used

15 for digital data storage or transmittal. ELECTRONIC RECORDS also includes the

16 file, folder tabs, and containers and labels appended to or associated with each

17 original and non-identical copy.

18        D."COMMUNICATION(S)" means any oral, written or electronic
19 transmission of information, including but not limited to meetings, discussions,

20 conversations, telephone calls, telegrams, memoranda, letters, telecopies, telexes,

21 conferences, messages, notes or seminars.

22        E."RELATING TO," "RELATED TO" or "RELATE(S) TO" means
23 constituting, containing, concerning, embodying, reflecting, identifying, stating,

24 mentioning, discussing, describing, evidencing, or in any other way being relevant

25 to that given subject matter.

26        F."DEFENDANT" shall mean Defendant Target Corporation.
27        G."HEALTH CARE PROVIDER" or "HEALTH CARE PROVIDERS"
28 means any PERSON referred to in Code of Civil Procedure § 667.7(e)(3).
                                         3
                  PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                               TO DEFENDANT TARGET CORPORATION'S
       Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 36 of 50




 1        H."INCIDENT" means the facts, circumstances and events surrounding
 2 the alleged accident, injury or other occurrence giving rise to this action as YOU

 3 have alleged in the Complaint.

 4        I."TARGET" means defendant Target Corporation, and any of its
 5 officers, directors, employees, attorneys, representatives, predecessors, successors

 6 and assigns, including any PERSON or entity purportedly acting on its behalf, or

 7 any other entity connected therewith.

 8      J."PROPERTY" means the Target retail store located at 2700 5th Street,
 9 Alameda, CA 94501.
 10

 11                         SPECIAL INTERROGATORIES
12
      INTERROGATORY NO. 1: RESPONSE:
13        The attached file explains PLAINTIFF’S specificity of how INCIDENT did
          occur.
14
      INTERROGATORY NO. 2: RESPONSE:
15        The attached file explains PLAINTIFF’S specificity, the nature and types of
          injuries sustained because of INCIDENT.
16
      INTERROGATORY NO. 3: RESPONSE:
17        The attached file explains PLAINTIFF’S fact to supports
18        contention that TARGET CORPORATION negligently maintained the
19        PROPERTY or any part of it, on the date of the INCIDENT to cause
20        injury.
21
      INTERROGATORY NO. 4: RESPONSE:
22        Yes, PLAINTIFF is entitled to $5,000,000 in emotional distress damages.
23
      INTERROGATORY NO. 5: RESPONSE:
24        The attached file explains details facts of PLAINTIFF’S entitlement to
          emotional distress damages beyond YOUR alleged physical injuries
                                              4
                  PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                               TO DEFENDANT TARGET CORPORATION'S
      Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 37 of 50



 1
     INTERROGATORY NO. 6: RESPONSE:
 2       NONE. NO DOCUMENS, because PLAINTIFF did NOT have medical
         insurance and could NOT afford to see a doctor to get the documents
         requested. PLAINTIFF defined all injuries sustained and as a result, ONLY
         after this INCIDENT.
 3
     INTERROGATORY NO. 7: RESPONSE:
 4       This INCIDENT occurred inside the Starbucks coffee store inside the
         TARGE store on the PROPERTY.
 5
     INTERROGATORY NO. 8: RESPONSE:
 6       See RESPONSE to INTERROGATORY NO. 1: The cause of the
         INCIDENT.
7
     INTERROGATORY NO. 9: RESPONSE:
8        Only, the PLAINTIFF has knowledge of PLAINTIFF’S injuries, sustained,
         after this INCIDENT, because of symptoms and current “PAIN” sustained
         by PLAINTIFF, described in response to INTERROGATORY NO. 2:
9
     INTERROGATORY NO. 10: RESPONSE:
10       NONE. NO DOCUMENT, because PLAINTIFF does NOT have medical
11       insurance and cannot afford to see a doctor to get documents. PLAINTIFF
12        seeks to recover damages from the INCIDENT, based on symptoms of
13 injuries described in response to response to INTERROGATORY NO. 2:
14
15
     INTERROGATORY NO. 11: RESPONSE:

16 Please see response to INTERROGATORY NO. 1:


17
     INTERROGATORY NO. 12: RESPONSE:
18 Please see response to INTERROGATORY NO. 1:
19
20
     INTERROGATORY NO. 13: RESPONSE:
21
22 Please see response to INTERROGATORY NO. 1:

                                           5
                 PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                              TO DEFENDANT TARGET CORPORATION'S
       Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 38 of 50



 1
     INTERROGATORY NO. 14: RESPONSE:
 2         At the time of the INCIDENT, PLAINTIFF was waiting in line at the
           Starbucks Coffee Shop to get coffee and a sandwich.
 3
     INTERROGATORY NO. 15: RESPONSE:
 4         PLAINTIFF is NOT a Medicare recipient.
 5
     INTERROGATORY NO. 16: RESPONSE:
 6         NO Medicare number, PLAINTIFF is NOT a Medicare recipient.
 7
     INTERROGATORY NO. 17: RESPONSE:
 8         NO, PLAINTIFF is NOT receiving Social Security Disability Insurance
9    benefits.
10
     INTERROGATORY NO. 18: RESPONSE:
 1         NO, PLAINTIFF is NOT receiving Social Security Disability Insurance
2    benefits.
3
     INTERROGATORY NO. 19: RESPONSE:
 1         NO, PLAINTIFF is NOT receiving Social Security Disability Insurance
2    benefits.
3
     INTERROGATORY NO. 20: RESPONSE:
4          PLAINTIFF is NOT a Medi-Cal recipient.
5
     INTERROGATORY NO. 21: RESPONSE:
6          PLAINTIFF is NOT a Medi-Cal recipient.
7
     INTERROGATORY NO. 22: RESPONSE:
8          PLAINTIFF social security number is: XXX-XX-XXXX:
9
     INTERROGATORY NO. 23: RESPONSE:
10         NONE. PLAINTIFF has NOT seen any primary care physician in the past 10
           years. NOT that PLAINTIFF can recall.
11
     INTERROGATORY NO. 24: RESPONSE:
12         NONE. PLAINTIFF has NOT seen HEALTH CARE PROVIDER in the past
           10 years. NOT that PLAINTIFF can recall.
                                            6
                  PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                               TO DEFENDANT TARGET CORPORATION'S
      Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 39 of 50




1
     INTERROGATORY NO. 25: RESPONSE:
2        The TARGET employee used her strength to expert enough force on the
3        trolly and forcefully pushed the trolly into my right kidney. After, I was
4        forcefully “HIT and ASSULTED” by the TARGET employee, I walked over
5        to her and asked her “Are you Fucking Crazy” and the DEFENDANT replied
6        “Get Out Nigger”. This reaction from the DEFENDANT proof actual intent
7        to cause harmful or offensive contact to the PLAINTIFF at time of the
         INCIDENT.
6

7 DATED: August 8, 2022              BRYON JACKSON
8
9

10
                                     By:
11                                         Bryon Jackson
12

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28                                     7
               PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES TO
                              DEFENDANT TARGET CORPORATION'S
           Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 40 of 50




     1                                  PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF ALAMEDA
 3 At the time of service, I was over 18 years of age and not a party to this action.
   I am employed in the County of Alameda, State of California. My
 4 address is 1350 Marina Village Parkway # 415, Alameda, CA 94501.
 5 On August 8, 2022, I served true copies of the following document(s) described
         as PLAINTIFF BRYON JACKSON FIRST SET OF
 6       SPECIAL INTERROGATORIES TO DEFENDANT TARGET
         CORPORATIONS on the interested parties in this action as follows:
 7
 8
               ONLY BY ELECTRONIC TRANSMISSION: Only by emailing the
 9 document(s) to the persons at the e-mail address(es). This is necessitated during the
         declared National Emergency due to the Coronavirus (COVID-19) pandemic
10 because this office will be working remotely, not able to send physical mail as usual,
         and is therefore using only electronic mail. No electronic message or other
11 indication that the transmission was unsuccessful was received within a reasonable
   time after the transmission. We will provide a physical copy, upon request only,
12 when we return to the office at the conclusion of the National Emergency.
13 I declare under penalty of perjury under the laws of the United States of America that

14 the foregoing is true and correct and that I am a PRO SE and NOT employed in the

15 office of a member of the bar of this Court at whose direction the service was

16 made.

17
18             Executed on August 8, 2022, at Alameda, California.
16

17

18
19                                                  Bryon Jackson

20

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                                                    1
                      PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES TO
                                     DEFENDANT TARGET CORPORATION'S
         Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 41 of 50



     1                                   SERVICE LIST
                      Jackson v. Target Corp; Case No. 3:21-CV-08458-LB
     2
     3 David V. Roth (State Bar No. 194648)     Defendant
 4 dvr@manningllp.com
 5 Gabriella Pedone (State Bar No. 308384)
 6 gap@manningllp.com
 7 MANNING & KASS ELLROD,
 8 RAMIREZ, TRESTER LLP
 9 One California Street,
 10 Suite 900 San Francisco, California 94111
 11 Telephone: (415) 217-6990
 12 Facsimile: (415) 217-6999
 13
 14 Attorneys for Defendant
 15


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                                                2
                               PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL
                          INTERROGATORIES TO DEFENDANT TARGET CORPORATION'S
           Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 42 of 50



 1       Bryon Jackson, PRO SE
 2       zaqw1478@hotmail.com
 3       1350 Marina Village Parkway
 4       Alameda, California 94501
 5       Tel: (201) 776-4282
 6

     8

     9                          UNITED STATES DISTRICT COURT
10        NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
 11

 12 BRYON JACKSON,                                  Case No. 3:21-cv-08458-LB
 13                  Plaintiff,                     (State Court Case No. RG21110499)
 14            v.                                   PLAINTIFF BRYON JACKSON
                                                    FIRST SET OF SPECIAL
                                                    INTERROGATORIES TO TARGET
                                                    CORPORATION
 15 TARGET – ALAMEDA, CA
         2700 FIFTH ST ALAMEDA, CA,
 16
                     Defendant.
 17                                                 Action Filed:        August 24, 2021
 18
19 PROPOUNDING PARTY: Plaintiff BRYON JACKSON

20 RESPONDING PARTY: Defendant, TARGET CORPORATION

 21 SET NO.:                         One
               Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Plaintiff
 22
23 Bryon Jackson, request that Defendant, TARGET CORPORATION answer the

24 following interrogatories.
                                           DEFINITIONS
 25
              A. “YOU”, “YOUR”, or “DEFENDANT” means and refers to TARGET
 26
27 CORPORATION; however, when documentation or knowledge in your possession or

28 under your control is requested, “YOU” and “DEFENDANT” also refers to responding


                     PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES TO
                                    DEFENDANT TARGET CORPORATION'S
      Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 43 of 50




 1 party, and all her past and present agents, employees, attorneys, and consultants and

 2 any other person or entity formerly or presently acting on responding party’s behalf

 3 in any way in connection with the instant action.

 4        B."DOCUMENT" or "DOCUMENTS" shall mean all documents,
 5 electronically stored information, and tangible things, including without limitation

 6 all writings (as defined in Section 250 of the California Evidence Code) and all

 7 other means of recording information, whether written, transcribed, taped, filmed,

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10 information, copies and duplicates that are marked with any notation or annotation

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13 invoices, purchase orders, ledgers, diaries, logs, calendars, computer printouts,

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17 audit work papers, financial analyses, tables of organizations, charts, graphs,

18 indices, advertisements and promotional materials, audited and unaudited financial

19 statements, trade letters, trade publications, newspapers and newsletters,

20 photographs, emails, electronic or mechanical records, facsimiles, telegrams and

21 telecopies, and audiotapes. Each draft, annotated, or otherwise non-identical copy is

22 a separate DOCUMENT within the meaning of this term. DOCUMENTS shall also

23 include any removable sticky notes, flags, or other attachments affixed to any of the

24 foregoing, as well as the files, folder tabs, and labels appended to or containing any

25 documents. DOCUMENTS expressly include all ELECTRONIC RECORDS.

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27 duplicate when the original is not available) and any non-identical copies (whether

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                                           2
                  PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                               TO DEFENDANT TARGET CORPORATION'S
      Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 44 of 50




 1 marks, transmission notations, or highlighting of any kind) of writings of every kind

 2 and description inscribed by mechanical, facsimile, electronic, magnetic, digital, or

 3 other means. ELECTRONIC RECORDS includes, by way of example and not by

 4 limitation, computer programs (whether private, commercial, or work-in-progress),

 5 programming notes and instructions, activity listings of email transmittals and

 6 receipts, output resulting from the use of any software program (including word

 7 processing documents, spreadsheets, database files, charts, graphs and outlines),

 8 electronic mail, and any and all miscellaneous files and file fragments, regardless of

 9 the media on which they reside and regardless of whether said ELECTRONIC

10 RECORDS exists in an active file, deleted file, or file fragment. ELECTRONIC

11 RECORDS includes without limitation any and all items stored on computer

12 memories, hard disks, diskettes and cartridges, network drives, network memory

13 storage, archived tapes and cartridges, backup tapes, floppy disks, CD-ROMs,

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16 file, folder tabs, and containers and labels appended to or associated with each

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19 transmission of information, including but not limited to meetings, discussions,

20 conversations, telephone calls, telegrams, memoranda, letters, telecopies, telexes,

21 conferences, messages, notes or seminars.

22        E."RELATING TO," "RELATED TO" or "RELATE(S) TO" means
23 constituting, containing, concerning, embodying, reflecting, identifying, stating,

24 mentioning, discussing, describing, evidencing, or in any other way being relevant

25 to that given subject matter.

26        F."DEFENDANT" shall mean Defendant Target Corporation.
27        G."HEALTH CARE PROVIDER" or "HEALTH CARE PROVIDERS"
28 means any PERSON referred to in Code of Civil Procedure § 667.7(e)(3).
                                         3
                  PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                               TO DEFENDANT TARGET CORPORATION'S
        Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 45 of 50




 1          H."INCIDENT" means the facts, circumstances and events surrounding
 2 the alleged accident, injury or other occurrence giving rise to this action as YOU

 3 have alleged in the Complaint.

 4          I."TARGET" means defendant Target Corporation, and any of its
 5 officers, directors, employees, attorneys, representatives, predecessors, successors

 6 and assigns, including any PERSON or entity purportedly acting on its behalf, or

 7 any other entity connected therewith.

 8      J."PROPERTY" means the Target retail store located at 2700 5th Street,
 9 Alameda, CA 94501.
 10

 11                          SPECIAL INTERROGATORIES
12
      INTERROGATORY NO. 1:
13          Describe with specificity how YOU contend the alleged INCIDENT
14 did NOT occurred.
15
      INTERROGATORY NO. 2:
16 State the full name and current address, of the Target’s employee who assaulted
      the Defendant.
17
      INTERROGATORY NO. 3:
18          State the Social Security Number and Date of Birth of the Target’s employee
            who assaulted the Defendant.
19
      INTERROGATORY NO. 4:
20          Provide full background check details for pre-employment by Target for the
            Target’s employee who assaulted the Defendant.
21
      INTERROGATORY NO. 5:
22          Provide full HR Files; including employee review and any disciplinary
            actions from Target’s managers or peers for the Target’s employee who
            assaulted the Defendant.
23
                                              4
                   PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                                TO DEFENDANT TARGET CORPORATION'S
          Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 46 of 50



    1
         INTERROGATORY NO. 6:
2            Provide all views of the un-edited “LIVE” Security Camera views for the
3            entire day, including time this incident was reported, showing the entire
4            INDIDENT, captured on security camera inside the Starbucks Coffee shop
5            inside the Target Store.
    6
         INTERROGATORY NO. 7:
7            Provide full Criminal BACKGROUND check RECORD and Social Security
8            Number for this employee from Target who assaulted the Defendant.
    9
    10
         INTERROGATORY NO. 8:
11           Provide full Motor Vehicle Driving history RECORD for this employee from
12           Target who assaulted the Defendant.
 13
         INTERROGATORY NO. 9:
14           Provide TOTAL HISTORY of domestic violence, Assault and Battery for
 15          this employee From Target who assaulted the Defendant.
 16
         INTERROGATORY NO. 10:
 17          IDENTIFY Full names and full contact details for everyone she committed
             domestic violence, Assault and Battery against in the past 15 years.
 18
 19
         INTERROGATORY NO. 11:
 20          IDENTIFY and PROVIDE details for all mental and physical sickness with
 21          current treatments.
 22
         INTERROGATORY NO. 12:
 23          IDENTIFY and PROVIDE details for all drugs she is currently using and
 24          current treatments.
 25
         INTERROGATORY NO. 13:
 26          If your response to Interrogatory NO. 12 is “Yes”, IDENTIFY the drugs you
 27          were using and under the influence of on the day of the INCIDENT.
 28
                                               5
                     PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                                  TO DEFENDANT TARGET CORPORATION'S
      Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 47 of 50



 1
     INTERROGATORY NO. 14:
 2       State in detail what YOU were thinking at the time YOU ASSULTED me.
 3
     INTERROGATORY NO. 15:
 4       Explain why you choose to be a RACIST or how did you lean to be a
         RACIST?
 5
     INTERROGATORY NO. 16:
 6       Explain if I am the first Black person you ASSULTED in your life and do
         you plan to ASSAULT more BLACK people whenever you get the chance?
 7
 8
     INTERROGATORY NO. 17:
 9       Do you have any Severe Mental Illness? Explain your Severe Mental Illness?
10
     INTERROGATORY NO. 18:
11       Describe your level of education?
12
     INTERROGATORY NO. 19:
13       Describe and name all the people you bully in your life?
14
     INTERROGATORY NO. 20:
15       Describe the personal problems you were experiencing on the day you
         ASSAULTED me.
16
     INTERROGATORY NO. 21:
17       Do you own a firearm? Have you ever tried to kill someone before? Have
         you ever steal anything from Target?
18
     INTERROGATORY NO. 22:
19       State YOUR social security number.
20
     INTERROGATORY NO. 23:
21       IDENTIFY every Black people you ASSULTED in the past 15 years.
22
     INTERROGATORY NO. 24:
23       IDENTIFY every Black people you HARASSED in the past 15 years.
                                             6
                PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES
                             TO DEFENDANT TARGET CORPORATION'S
       Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 48 of 50




1
     INTERROGATORY NO. 25:
2          If YOU contend that TARGET employee did NOT, intent to cause harmful
3 or offensive contact to PAINTIFF at time of the INCIDENT, state all facts
     supporting said contention.

6

7 DATED: August 8, 2022                BRYON JACKSON, PRO SE
8

9

10
                                       By:
11                                           Byron Jackson, PRO SE
12

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                                             7
                  PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES TO
                                 DEFENDANT TARGET CORPORATION'S
           Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 49 of 50




     1                                  PROOF OF SERVICE
 2 STATE OF CALIFORNIA, COUNTY OF ALAMEDA
 3 At the time of service, I was over 18 years of age and not a party to this action.
         I am PRO SE.
 4       On August 8, 2022, I served true copies of the following document(s) described
         as PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL
         INTERROGATORIES TO DEFANDENT TARGET CORPORATION on
         the interested parties in this action as follows:
 7
 8
               ONLY BY ELECTRONIC TRANSMISSION: Only by emailing the
 9 document(s) to the persons at the e-mail address(es). This is necessitated during the
         declared National Emergency due to the Coronavirus (COVID-19) pandemic
10 because this office will be working remotely, not able to send physical mail as usual,
         and is therefore using only electronic mail. No electronic message or other
11 indication that the transmission was unsuccessful was received within a reasonable
   time after the transmission. We will provide a physical copy, upon request only,
12 when we return to the office at the conclusion of the National Emergency.
13 I declare under penalty of perjury under the laws of the United States of America that
   the foregoing is true and correct and that I am employed in the office
14 of a member of the bar of this Court at whose direction the service was made.
15             Executed on August 8, 2022, at Alameda, California.
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19                                                  Bryon Jackson

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                      PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL INTERROGATORIES TO
                                     DEFENDANT TARGET CORPORATION'S
         Case 3:21-cv-08458-LB Document 103 Filed 01/17/24 Page 50 of 50



     1                                   SERVICE LIST
                      Jackson v. Target Corp; Case No. 3:21-CV-08458-LB
     2
     3 David V. Roth (State Bar No. 194648)      Defendant
 4 dvr@manningllp.com
 5 Gabriella Pedone (State Bar No. 308384)
 6 gap@manningllp.com
 7 MANNING & KASS ELLROD,
 8 RAMIREZ, TRESTER LLP
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 10 Suite 900 San Francisco, California 94111
 11 Telephone: (415) 217-6990
 12 Facsimile: (415) 217-6999
 13
 14 Attorneys for Defendant,
 15 TARGET CORPORATION (erroneously sued herein as Target – Alameda, CA)
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                               PLAINTIFF BRYON JACKSON FIRST SET OF SPECIAL
                          INTERROGATORIES TO DEFENDANT TARGET CORPORATION'S
